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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION

DESMOND HARRISON                                                                       PLAINTIFF

vs.                                                  CIVIL ACTION NO. 3:16-CV-2-MPM-SAA

MTC, ET AL                                                                         DEFENDANTS

                                      FINAL JUDGMENT

        The Report and Recommendation of the United States Magistrate Judge dated April 20,

2016, was on that date served via electronic mail through the court’s CM/ECF system upon counsel

of record as well as to plaintiff’s email address, shawnharrison11@gmail.com.1 More than fourteen

days have elapsed since service of the Report and Recommendation, and no objection has been filed

or served by the parties. The court is of the opinion that the Report and Recommendation should

be approved and adopted as the opinion of the court. It is, therefore,

        ORDERED:

        1. That the Report and Recommendation of the United States Magistrate Judge dated April

20, 2016, is approved and adopted, and the proposed findings of fact and conclusions of law in it are

adopted as the findings of fact and conclusions of law of the court.

        2.   This case is dismissed with prejudice under FED. R. CIV. P. 41(b).

        SO ORDERED, this the 5th day of May, 2016.

                                              /s/ MICHAEL P. MILLS
                                              UNITED STATES DISTRICT JUDGE
                                              NORTHERN DISTRICT OF MISSISSIPPI



        1
      Correspondence sent to plaintiff’s last known physical address has been returned as
“Moved – unable for forward.”

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